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and represented the hope and promise of the family. This case has been
heartbreaking for her. Knowing that he caused her so much pain has been
devastating for Mr. Russell. However, he is determined to be better from his
mistakes, including taking steps to address his gambling addiction. Further, his period
of incarceration at the MDC has been especially challenging, as well as humbling. Mr.
Russell wants nothing more than to move forward with his life, make the victims
whole, and restore his mother’s pride.
        We respectfully request that the court impose a sentence of time served.
                               A childhood borne of adversity.
“[Rashawn] has always shouldered the responsibilities of our family due to him being the only son.”
                                       – Ranessa Russell

       Mr. Russell was born and raised in Kingston, Jamaica in 1995 to his
parents, Vincent Russell and Catherine Singh. Mr. Russell was raised with
his two younger sisters, Rianna and Ranessa, in the Waterhouse district in
Kingston. Mr. Russell’s family was close-knit, and he lived amongst
extended family in his community. For most of his childhood, his home was
one filled with love and support from his parents.
         The 1990s of Mr. Russell’s youth was a turbulent time in Jamaica, as
the country was beset with extreme political violence and local gang violence,
which had persisted for several decades since Jamaica’s independence from
                                                                                  Mr. Russell and his
the United Kingdom in 1962.1 By 1997, when Mr. Russell was two years                aunt in Jamaica
old, Jamaica reached an ignominious distinction – over 1,000 murders
recorded in one year for the first time in the country’s history.2 Two years later in
1999 at the dawn of the new century, when Mr. Russell was four years old, a protest
to a new government tax policy escalated into a riot where at least 10 people were
killed. 3
      Mr. Russell describes Waterhouse as a low-income “inner city ‘ghetto’” where it
was “hard for people to get a job with that zip code even if you went to the best

1
  The BBC, “Jamaica Profile – Timeline” (Oct. 4, 2022), https://www.bbc.com/news/world-latin-
america-18784730.
2
  Jamaica Constabulary Force, “Crime Statistics,” https://jcf.gov.jm/stats/, (last accessed Apr. 24,
2024).
3
  Freedom House, “Freedom in the World 1999 - Jamaica, 1999,”
https://www.refworld.org/reference/annualreport/freehou/1999/en/95205, (last accessed Apr. 23,
2024).
                                                 2
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     awarded to only 300 students nationwide out of 34,000 applicants each year.15 The
                             Posse program provides cohorts of 10 students from diverse and
                             low-income backgrounds structured mentoring and training
                             throughout college to ensure greater diversity in college
                             admissions and assist first-generation students with
                             matriculation.16 After writing 10 separate essays in his
                             applications, Mr. Russell and his family were elated when they
                             learned that he been accepted to both programs. His mother
                             was exceptionally proud of her son. Her pride only swelled
Mr. Russell with his mother  when he was admitted to Babson College in Wellesley
 at his first day of college Massachusetts.
                                While at Babson, he remained active with the Posse
    program and attended weekly meetings with his mentors and participated in annual
    retreats and trainings. He majored in Business Management and continued his drive
    to work in finance. He obtained paid internships at Deutsche Bank in the summers
    of 2016 and 2017, respectively. PSR ¶107. The Gates scholarship also allowed him to
    study abroad in Barcelona, Spain, Malaysia, and Singapore. His experiences studying
    abroad inspired a lifelong passion for traveling. He eventually would travel to over 30
    countries before he was 30 years old.
           His hard work throughout college paid off when he graduated cum laude with
    his Bachelor of Science degree in 2018. He was the first person in
    his family to graduate from college and his parents, his sisters, and
    other family members were there to watch his momentous
    achievement. As his mother described, “You can just imagine
    how I felt as a mother, me not being able to attend college and
    knowing that I am raising a son that could be a part of the 1% of
    black men in America to do so. Rashawn has given me many
    proud moments. However, one of my proudest moments was when he walked across
    that stage on May 20, 2018 when he graduated college with honors. I beamed with
    the uttermost pride that my son is indeed the one percent.”17

    15
       Becky Weinstein, How to Win the Gates Scholarship, Collegeadvisor.com,
    https://www.collegeadvisor.com/merit-based-scholarships/bill-gates-
    scholarship/#:~:text=The%20path%20to%20becoming%20one,rate%20of%20less%20than%201
    %25 (last accessed Apr. 24, 2024).
    16
       Posse Foundation, About Posse, https://www.possefoundation.org/about-posse (last accessed Apr.
    24, 2024).
    17
       Catherine Singh letter of support (attached hereto as Exhibit A).
                                                    7
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                                          The realization of a dream.
        After he graduated from college, he realized his long-held dream – he went to
work on Wall Street. He started his career at Deutsche Bank as an investment
banking analyst in 2018. As an analyst, he obtained his Series 63 and Series 79
licenses, respectively, to become a registered broker. PSR ¶102. He was not only
working in his dream job, but he was finally in a position to escape the poverty of his
childhood as he earned a starting salary of $85,000. PSR ¶106. After two years, he
was promoted to an associate and was immersed in the non-stop grind of finance,
where he worked on several mergers and acquisitions deals and regularly clocked 18-
hour days. Id. After three years at Deutsche Bank, he moved on to work in private
equity with Pantheon Ventures as an associate. Although Pantheon wanted Mr.
Russell to move to the San Francisco office, he decided that it was time that he stake
his claim as an entrepreneur. PSR ¶105.
        Mr. Russell felt confident that he could rely on his extensive network, his
experience in managing large financial transactions, and his knowledge of the industry
to build up his own investment fund. In 2022, he decided to focus his investment
strategy on the volatile cryptocurrency market. At the time, the cryptocurrency
market was skyrocketing in value, with Bitcoin, the world’s leading cryptocurrency,
had reached a value of $68,000 per coin and the overall market was valued at $3
trillion. 18 Mr. Russell launched his company R3 Crypto Fund in April 2022 and started
securing investors from his network of friends and former colleagues.
                                            A swift downfall.
 “I care about Shawn and I know that he has suffered enough with his own demons to warrant any
                            more pain and suffering.” – Richard Zaro

       What began as an opportunity to captain his own ship as an entrepreneur
eventually spiraled out of control into a disaster that he could not have imagined.
Before the end of 2022, the cryptocurrency market crashed, most notably due to the
implosion of FTX, one of the largest cryptocurrency exchanges in the world. 19 FTX’s
collapse sent ripple effects throughout the cryptocurrency industry and led to the
highly-publicized trial and conviction of its billionaire founder, Sam Bankman-Fried,

18
   Ari Levy & MacKenzie Sigalos, Crypto peaked a year ago — investors have lost more than $2 trillion since,
CNBC (Nov. 14, 2022), https://www.cnbc.com/2022/11/11/crypto-peaked-in-nov-2021-
investors-lost-more-than-2-trillion-since.html.
19
   Tom Wilson et al., Cryptoverse: Bye-bye to the year that broke bitcoin, Reuters (Dec. 20, 2022),
https://www.reuters.com/technology/cryptoverse-bye-bye-year-that-broke-bitcoin-2022-12-20/.
                                                      8
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in 2023.20 The larger market collapse also impacted Mr. Russell’s nascent fund and
contributed to his conduct in the instant case in defrauding his investors.
       The other significant factor in his conduct was his addiction to gambling. Mr.
Russell had been exposed to gambling at an early age. He reports that “growing up,
gambling was something so common. On every corner there’s people playing
dominoes for money, or bingo. I would be the only kid who played dominoes and
bingo with adult men and women.” Although it would be several years before he
would gamble again, he started gambling intensely when he worked at Deutsche Bank.
To a large extent, his attraction to the stock market was an outgrowth of his gambling
addiction, given the high stakes and potential for massive gains or losses. As noted in
the PSR, his addiction intensified to the point that “if he had $100 in his bank account
and needed to spend $15 towards food, he would not spend the $15 and would
instead bet all of the $100.” PSR ¶95. He estimated that he likely spent all of his
earnings from his finance career on betting. Id. Mr. Russell often drank when he
gambled as well. Prior to the instant case, he had not sought treatment for his
addiction – “I didn’t think I had a problem.”
       While he was on Pretrial supervision, he had started treatment with Gambler’s
Anonymous (“GA”) and felt that he was making progress. He attended sessions
twice per week until his incarceration. Although he participated in treatment for only
around four months, he had already made an impact with other people in treatment.
As Richard Zaro reports, he met Mr. Russell in GA meetings in Manhattan and had
come to rely on him as a means of support. He reports that “there have been
countless times I’ve relied on Shawn to hear about my suffering to help me not
gamble that day - and he has been there every time.”21 Mr. Russell knows that he has
hurt many people. The victims here were not strangers. These were his friends, his
colleagues, and in some instances, their family members. He deeply regrets the pain
that he has caused them and will make them whole.
                   Mr. Russell detention at MDC has been especially harsh.
      For two months, Mr. Russell has been detained at MDC and has endured
extremely harsh conditions. While at MDC, he has experienced near constant
lockdowns, where people are often locked in their cells all day, with minimal time
outside of the cell, even to take a shower. His access to phones has been extremely

20
   Allison Morrow, Sam Bankman-Fried found guilty of seven counts of fraud in stunning fall for former crypto
billionaire, CNN (Nov. 3, 2023), https://www.cnn.com/2023/11/02/business/ftx-sbf-fraud-trial-
verdict/index.html.
21
   Richard Zaro letter of support (attached hereto as Exhibit A).
                                                       9
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limited and he has regularly been served cold meals. As Southern District of New
York Judge Furman recently wrote, “confining [people] to their cells [at MDC] is . . .
tantamount to solitary or near-solitary confinement, a practice that is increasingly
viewed as inhumane.” United States v. Gustavo Chavez, 22-cr-303 (S.D.N.Y. Jan. 4,
2024) (attached hereto as Exhibit B).
       Most recently, Mr. Russell has observed maggots in the food that was served to
him and other detainees in early April. His observation has been confirmed by several
other people incarcerated at MDC, as well as in news reports.22 Mr. Russell also
recently observed one of his roommates have a seizure in front of him and had to join
several other detainees in yelling out “don’t let him die!” to get the attention of the
corrections officers on the unit and to ensure that the man would receive medical
care. Mr. Russell observed another man get stabbed around the same time. Beyond
the lockdowns, unsanitary conditions, and violence, he has also dealt with non-
working toilets, dirty vents, and broken lights, among a host of other issues.
       Despite these deplorable conditions, Mr. Russell has made efforts to stay
productive. He has spent much of his incarceration reading over 15 books and is
currently reading “Great Expectations” by Charles Dickens, “A Promised Land” by
former President Barack Obama, “A Long Way Gone” by Ishmael Beah, and “The
Kite Runner” by Khaled Hosseini among others. Further, he has participated in
programs and supported other detainees. Notably, he has developed a workout
program for his roommate and other detainees on his unit where he leads a 2-3 hour
daily workout regimen, advises them on nutrition, and has even helped his roommate
lose weight. Prior to his incarceration, Mr. Russell made mistakes in violating the
terms of release, from improperly visiting Crunch fitness gyms to not abiding by
making unauthorized stops when he was permitted to travel outside the home.
However, it is abundantly clear is that Mr. Russell has learned his lesson, and this will
never happen again.
       As this Court is aware, judges in this district and SDNY have granted leniency
at sentencing for defendants incarcerated at MDC given the severe conditions. These
courts have acknowledged that the unusual harshness of incarceration diminishes the
retributive or deterrent need for a guidelines sentence, and they have imposed terms
of imprisonment that are substantially less than the bottom of the defendants’

22
  See John Annese, “Maggot-infested meals being served to inmates at Brooklyn federal jail, lawyers
say,” The New York Daily News, March 30, 2024,
https://www.nydailynews.com/2024/03/30/maggot-infested-meals-being-served-inmates-at-
brooklyn-federal-jail-lawyers-say/ (attached as Exhibit C).
                                                10
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advisory ranges, including many sentences for time served. See United States v. Phillip
Placide, 21-cr-539 (AMD) (imposing time served sentence); United States v. Narcissi, 20-
cr-449 (RPK) (E.D.N.Y. Mar. 15, 2021) (imposing time-served sentence where
guidelines range was 24-30 months); United States v. Temagen Stephenson, 20-cr-511
(AMD) (imposing time served sentence); United States v. Shi, 19-cr-451 (PKC)
(E.D.N.Y. Nov. 2, 2020) (imposing no prison where guidelines range was 12-18
months); United States v. Piper, 18-cr-008 (AMD) (E.D.N.Y. June 25, 2020) (imposing
time-served sentence on resentencing where bottom of guidelines range was 63
months). See also United States v. Flowers, 14-cr-471 (DLI) (E.D.N.Y. Apr. 20, 2022)
(imposing 24 months in violation of supervised release case where guidelines range
was 33-41 months); United States v. Camacho, 19-cr-389 (CM) (S.D.N.Y. Nov 19, 2020)
(imposing time-served sentence where bottom of guidelines range was 57 months);
United States v. Paulino, 19-cr-607 (AJN) (S.D.N.Y. Oct. 21, 2020) (imposing time-
served sentence where bottom of guidelines ranges was 27 months); United States v.
Aracena de Jesus, 20-cr-19 (PAE) (S.D.N.Y. July 1, 2020) (imposing time-served
sentence where bottom of guidelines range was 30 months).
     Mr. Russell will bear the brunt of collateral consequences with a felony conviction.
        Mr. Russell has never had a criminal record until his conviction in the instant
matter. A felony conviction triggers a host of collateral consequences, including
significant barriers to employment, education, and access to credit and financial
services:
         Collateral consequences affect many areas of life. Some criminal
         convictions can lead to loss of civil status; a citizen may lose the right to
         vote, serve on a jury, or hold office; a noncitizen may be deported or
         become ineligible to naturalize. A conviction may make a person ineligible
         for public benefits, such as the ability to live in public housing or hold a
         driver’s license. . . . A criminal conviction can also make a person ineligible
         for a license or permit necessary to be employed or to do business, or
         cause forfeiture of a pension. Criminal convictions can also affect family
         relations, such as the ability to have custody or visitation of one’s child.23




23
  Gabriel Jackson Chin, “Collateral Consequences,” Academy for Justice, A Report on Scholarship
and Criminal Justice Reform (Erik Luna et al., 2017), https://ssrn.com/abstract=2948025 (emphasis
added).
                                               11
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       In New York, a felony conviction can subject someone to 374 24 separate
barriers to employment, including absolute bars on becoming a Certified Nursing
Assistant,25 a firefighter,26 a security guard,27 or even working as the director of a
funeral home. 28 Mr. Russell has already experienced the impact of the collateral
consequences of this case as his securities licenses were suspended on August 11,
2023. PSR ¶102. Every job and internship that Mr. Russell has held since he was in
high school has been in the finance industry, and it is very likely that he will never be
able to work in that industry ever again.
      Further, as noted in the PSR, Mr. Russell faces several additional collateral
consequences, such as restrictions on public benefits, housing, and jury service,
among a host of other consequences. PSR ¶137.
     The goals of sentencing will be best served with a non-incarceratory sentence.
        Pursuant to 18 U.S.C. § 3553(a)(6), in determining a sentence that is sufficient,
but not greater than necessary, the Court “shall consider” “the need to avoid
unwarranted sentence disparities among defendants with similar records who have
been found guilty of similar conduct.” This Court has full authority to consider any
evidence it wishes in deciding whether or not the guidelines “properly reflect § 3553
considerations[.]” Rita v. United States, 551 U.S. 338, 351 (2007); see also Gall v. United
States, 552 U.S. 38 (2007); Kimbrough v. United States, 552 U.S. 85 (2007). In particular,
the district court may consider whether the guidelines applicable to a case “properly
reflect § 3553 considerations,” may reach the “merits of such a claim,” may act on
such concerns, and determine, as a general matter, that “the Guidelines reflect an
unsound judgment.” Rita, 551 U.S. at 351-357; see also Kimbrough, 552 U.S. at 85.
       Here, it is clear that Mr. Russell’s history and characteristics, § 3553(a)(1),
support a sentence of time served. Mr. Russell was an accomplished professional and
athlete for most of his life before this case and had excelled at every level of his life.
Despite growing up in abject poverty in Jamaica and Brownsville, he attended two

24
   See National Inventory of Collateral Consequences of Conviction, Collateral Consequences
Inventory, https://niccc.nationalreentryresourcecenter.org/consequences.
25
   See 10 CRR-NY § 402.7 (“Where the criminal history information of a prospective employee
reveals a felony conviction at any time for a . . . class B or C felony, any class D or E felony defined
in articles . . . 155 [Larceny offenses], . . . of the Penal Law or . . . any comparable offense in any
other jurisdiction, the Department shall propose disapproval of such person’s eligibility for
employment. . . .”) (emphasis added and omitted).
26
   See N.Y.C. Admin. Code § 15-103(b).
27
   See N.Y. Gen. Bus. L. §§ 74(2), 89-h(4).
28
   See N.Y. Pub. Health L. § 3450(1)(b).
                                                   12
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high-performing high schools, Calabar and HSEF, secured two prestigious awards in
the Gates scholarship and the Posse program, and was on track to become a
professional soccer player until he was derailed by injury. He graduated cum laude
from college with a business degree and was rising the corporate ladder in finance
before launching his own business. He had traveled the world and was an inspiration
to his family and community. However, his intense gambling addiction and poor
choices led to the dissolution of his business and many friendships, significant harm
to the victims and many people close to him, his current incarceration, and the great
disappointment of his mother, who had sacrificed so much for him and his sisters.
Further, a term of probation will enable him to connect with needed treatment
services for his gambling addiction, § 3553(a)(1)(D), to address the root causes of his
conduct in this case.




                            Mr. Russell at his college graduation
                           ceremony with his mother and sisters




                                            13
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                                      CONCLUSION

       For the aforementioned reasons, we respectfully request that the court impose
a sentence of time served, as such a sentence will be sufficient, but not greater than
necessary, to achieve the goals of sentencing.


                                                     Respectfully submitted,

                                                     /s Karume James
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